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lN THE on;D STATES olsTRlcT CoURT
FOR ms NORTHERN DlSTRlcT oF TEXAS
QH.H DIVISION

ALTERNATWE DlSPuTE RESOLUTION SUMMARY

Provider must file completed form, in duplicate, with the U.S. Distriet Clerk upon
completion of ADR.

CivilAction number: 3 = 09 "C- ¢/ "O((-S`{ " 3
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Natu re ofsuit: C ¢M'f /`r‘(‘ 14

Method oICADR used: mAedi:l'§iolt D t ini-Trial [l Sumrnary jury Trial
Date ADR session was held: £‘Ql 'O q

Outcome ofADR (Seleec one): '

|:l Parties did nor use my services Cl Settled, in part, as a result ofADR.
%Settled as a result ofADR. Cl Parties were unable to reach settlement

:] Continuing to work with parties to reach settlement (Note: provider must file
supplemental ADR Snrnmar)‘ Form at conclusion ofhis/ller services).

Wl'tat was your TOTAL fee: 5 z, ~SPOO "'"'
Duration ot'ADR: / d? (i.e., one day, two hours}

 

Please list persons in attendan (including party association, i.e., defendant, plaintiiff):

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Please provide the names, addresses, and telephone number of counsel on the reverse of this

 

 

 

  
  

 

 

form.

Provide i formation:

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Signature / Date

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Altemative Dispute Resolution Summary
Contfnned

Please provide the nnmes, addresses, and telephone numbers of eotlnsel:

Name: \Smrf B\./#H..¢L\. Name: /WA.PA'. Go)J~$fch/(.n_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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